                     Case 20-32437 Document 108 Filed in TXSB on 09/23/20 Page 1 of 18
Fill in this information to identify the case:

            Permico Midstream Partners Holdings, LLC and Permico Midstream Partners, LLC
Debtor Name __________________________________________________________________


                                        SouthernDistrict
United States Bankruptcy Court for the: _______ Districtofof Texas
                                                          ________

                                                                                                                    Check if this is an
Case number: 20-32437
             _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                August 2020
                     ___________                                                              Date report filed:      09/14/2020
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                   Oil & Gas
Line of business: ________________________                                                    NAISC code:             2111
                                                                                                                      ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                         Jordan Fickessen
                                           ____________________________________________

Original signature of responsible party    /s/ Jordan Fickessen
                                           ____________________________________________

Printed name of responsible party          ____________________________________________


             1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No       N/A
         If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      
                                                                                                                           ✔               
    2.   Do you plan to continue to operate the business next month?                                                       ✔
                                                                                                                                          
    3.   Have you paid all of your bills on time?                                                                          ✔
                                                                                                                                          
    4.   Did you pay your employees on time?                                                                                              ✔
                                                                                                                                            
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                                  ✔
                                                                                                                                            
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                               ✔
                                                                                                                                            
    7.   Have you timely filed all other required government filings?                                                                     ✔
                                                                                                                                            
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                                  
                                                                                                                                            ✔

    9.   Have you timely paid all of your insurance premiums?                                                              ✔
                                                                                                                                          
         If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                    ✔
                                                                                                                                          
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                   ✔        
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     ✔
                                                                                                                                           
    13. Did any insurance company cancel your policy?                                                                             ✔
                                                                                                                                           
    14. Did you have any unusual or significant unanticipated expenses?                                                           ✔
                                                                                                                                           
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                       ✔
                                                                                                                                           
    16. Has anyone made an investment in your business?                                                                           ✔
                                                                                                                                           
Official Form 425C                         Monthly Operating Report for Small Business Under Chapter 11                        page 1
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Debtor Name Permico Midstream Partners Holdings, LLC and Permico Midstream Partners, LLC
            _______________________________________________________                                    20-32437
                                                                                           Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                                 ✔
                                                                                                                                             
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                                   
                                                                                                                                       ✔      


             2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                     22,473.15
                                                                                                                                  $ __________
         This amount must equal what you reported as the cash on hand at the end of the month in the previous
         month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
         Attach a listing of all cash received for the month and label it Exhibit C. Include all
         cash received even if you have not deposited it at the bank, collections on
         receivables, credit card deposits, cash received from other parties, or loans, gifts, or
         payments made by other parties on your behalf. Do not attach bank statements in
         lieu of Exhibit C.
         Report the total from Exhibit C here.                                                                 2,044.61
                                                                                                          $ __________

    21. Total cash disbursements
         Attach a listing of all payments you made in the month and label it Exhibit D. List the
         date paid, payee, purpose, and amount. Include all cash payments, debit card
         transactions, checks issued even if they have not cleared the bank, outstanding
         checks issued before the bankruptcy was filed that were allowed to clear this month,
         and payments made by other parties on your behalf. Do not attach bank statements
         in lieu of Exhibit D.
                                                                                                         - $ __________
                                                                                                              11,961.11
         Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                              +       -9,916.50
                                                                                                                                  $ __________
         Subtract line 21 from line 20 and report the result here.
         This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
         Add line 22 + line 19. Report the result here.
                                                                                                                                     12,556.65
         Report this figure as the cash on hand at the beginning of the month on your next operating report.                  =   $ __________

         This amount may not match your bank account balance because you may have outstanding checks that
         have not cleared the bank or deposits in transit.



             3. Unpaid Bills
         Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
         have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
         purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                              563,755.10
                                                                                                                                  $ ____________

                (Exhibit E)




Official Form 425C                         Monthly Operating Report for Small Business Under Chapter 11                            page 2
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Debtor Name Permico Midstream Partners Holdings, LLC and Permico Midstream Partners, LLC
            _______________________________________________________                                        20-32437
                                                                                               Case number_____________________________________




             4. Money Owed to You
         Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
         have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
         Identify who owes you money, how much is owed, and when payment is due. Report the total from
         Exhibit F here.
    25. Total receivables                                                                                                                      0.00
                                                                                                                                     $ ____________

                (Exhibit F)



             5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                                 0
                                                                                                                                       ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                                 0
                                                                                                                                       ____________




             6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                               0.00
                                                                                                                                     $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                                  0.00
                                                                                                                                     $ ____________

    30. How much have you paid this month in other professional fees?                                                                          0.00
                                                                                                                                     $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                         0.00
                                                                                                                                     $ ____________




             7. Projections

         Compare your actual cash receipts and disbursements to what you projected in the previous month.
         Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                            Column A                         Column B                    Column C
                                            Projected                  –     Actual                  =   Difference

                                            Copy lines 35-37 from            Copy lines 20-22 of         Subtract Column B
                                            the previous month’s             this report.                from Column A.
                                            report.
                                                     0.00
                                            $ ____________             –          2,044.61
                                                                             $ ____________
                                                                                                     =       -2,044.61
                                                                                                         $ ____________
    32. Cash receipts
                                                8,445.90                        11,961.11            =        3,515.21
    33. Cash disbursements                  $ ____________             –     $ ____________              $ ____________

                                                -8,445.90              –         -9,916.50           =        1,470.60
    34. Net cash flow                       $ ____________                   $ ____________              $ ____________


    35. Total projected cash receipts for the next month:                                                                                      0.00
                                                                                                                                      $ ____________

    36. Total projected cash disbursements for the next month:                                                                      - $ ____________
                                                                                                                                           8,445.90

    37. Total projected net cash flow for the next month:
                                                                                                                                    = $ ____________
                                                                                                                                           -8,445.90




Official Form 425C                         Monthly Operating Report for Small Business Under Chapter 11                               page 3
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Debtor Name Permico Midstream Partners Holdings, LLC and Permico Midstream Partners, LLC
            _______________________________________________________                                    20-32437
                                                                                           Case number_____________________________________




             8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    ✔
        38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✔
        39. Bank reconciliation reports for each account.

    ✔
        40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


        41. Budget, projection, or forecast reports.


        42. Project, job costing, or work-in-progress reports.




Official Form 425C                         Monthly Operating Report for Small Business Under Chapter 11                           page 4
         Case 20-32437 Document 108 Filed in TXSB on 09/23/20 Page 5 of 18

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                     Case 20-32437 Document 108 Filed in TXSB on 09/23/20 Page 8 of 18




P.O. Box 15284
Wilmington, DE 19850
                                                                                               Client service information


                                                                                               1.800.878.7878

                                                                                               bankofamerica.com/privatebank
  PERMICO MIDSTREAM PARTNERS LLC
                                                                                               Bank of America, N.A.
  9301 SOUTHWEST FWY STE 308
                                                                                               P.O. Box 25118
  HOUSTON, TX 77074-1431                                                                       Tampa, FL 33622-5118




Your Business Fundamentals Checking
for August 1, 2020 to August 31, 2020                                                    Account number: 4880 7456 0839
PERMICO MIDSTREAM PARTNERS LLC

Account summary
Beginning balance on August 1, 2020                                 $22,473.15       # of deposits/credits: 2
Deposits and other credits                                             2,044.61      # of withdrawals/debits: 6
Withdrawals and other debits                                         -11,961.11      # of items-previous cycle¹: 6
Checks                                                                     -0.00     # of days in cycle: 31
Service fees                                                               -0.00     Average ledger balance: $16,179.45
Ending balance on August 31, 2020                                  $12,556.65        ¹Includes checks paid,deposited items&other debits



       Important disclosure information listed on the "Important Information for Bank Deposit Accounts" page.




PULL: E CYCLE: 52 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: HOU                                                                 Page 1 of 4
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PERMICO MIDSTREAM PARTNERS LLC | Account # 4880 7456 0839 | August 1, 2020 to August 31, 2020


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
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account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
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which the error or problem appeared.

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business days if you are a new client, for electronic transfers occurring during the first 30 days after the first deposit is made
to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will have
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                                                                                      Your checking account
PERMICO MIDSTREAM PARTNERS LLC | Account # 4880 7456 0839 | August 1, 2020 to August 31, 2020




Deposits and other credits
Date         Description                                                                                      Amount

08/31/20     BKOFAMERICA MOBILE 08/31 3774427781 DEPOSIT                 *MOBILE     TX                     1,354.48

08/31/20     BKOFAMERICA MOBILE 08/31 3774423287 DEPOSIT                 *MOBILE     TX                       690.13

Total deposits and other credits                                                                         $2,044.61



Withdrawals and other debits
Date         Description                                                                                      Amount

08/04/20     WIRE TYPE:WIRE OUT DATE:200804 TIME:0908 ET TRN:2020080400361746 SERVICE                       -5,679.42
             REF:004160 BNF:MERLYN HOLDINGS ID:3000737 BNF BK:ALLEGIANCE B ANK ID:113025723
             PMT DET:TS20200804090826

08/04/20     Nueces Electric DES:WEB PMTS ID:HH3QSD INDN:PERMICO MIDSTREAM PART CO                           -263.90
             ID:9000264842 CCD

08/05/20     NUECES ELECTRIC DES:CONS COLL ID:1912190015 INDN:JEFFREY F BEICKER           CO                 -161.92
             ID:3740811772 PPD

08/05/20     NUECES ELECTRIC DES:CONS COLL ID:1912190014 INDN:JEFFREY F BEICKER           CO                 -133.47
             ID:3740811772 PPD

08/28/20     WIRE TYPE:WIRE OUT DATE:200828 TIME:1113 ET TRN:2020082800507407 SERVICE                       -5,679.42
             REF:012597 BNF:MERLYN HOLDINGS ID:3000737 BNF BK:ALLEGIANCE B ANK ID:113025723 PMT
             DET:TS20200828111307

08/31/20     Nueces Electric DES:WEB PMTS ID:MK2LXD INDN:PERMICO MIDSTREAM PART CO                            -42.98
             ID:9000264842 CCD

Total withdrawals and other debits                                                                     -$11,961.11




                                                                                                    Page 3 of 4
                Case 20-32437 Document 108 Filed in TXSB on 09/23/20 Page 11 of 18
PERMICO MIDSTREAM PARTNERS LLC | Account # 4880 7456 0839 | August 1, 2020 to August 31, 2020




Daily ledger balances
Date                           Balance ($)   Date                          Balance($)   Date           Balance ($)

08/01                         22,473.15      08/05                        16,234.44     08/31          12,556.65
08/04                         16,529.83      08/28                        10,555.02




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P.O. Box 15284
Wilmington, DE 19850
                                                                                               Client service information


                                                                                               1.800.878.7878

                                                                                               bankofamerica.com/privatebank
  PERMICO MIDSTREAM PARTNERS HOLDINGS LLC
                                                                                               Bank of America, N.A.
  9301 SOUTHWEST FWY STE 308
                                                                                               P.O. Box 25118
  HOUSTON, TX 77074-1431                                                                       Tampa, FL 33622-5118




Your Business Fundamentals Checking
for August 1, 2020 to August 31, 2020                                                    Account number: 4880 8437 4125
PERMICO MIDSTREAM PARTNERS HOLDINGS LLC

Account summary
Beginning balance on August 1, 2020                                       $0.00      # of deposits/credits: 0
Deposits and other credits                                                  0.00     # of withdrawals/debits: 0
Withdrawals and other debits                                               -0.00     # of items-previous cycle¹: 0
Checks                                                                     -0.00     # of days in cycle: 31
Service fees                                                               -0.00     Average ledger balance: $0.00
Ending balance on August 31, 2020                                        $0.00       ¹Includes checks paid,deposited items&other debits



       Important disclosure information listed on the "Important Information for Bank Deposit Accounts" page.




PULL: E CYCLE: 52 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: HOU                                                                 Page 1 of 2
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PERMICO MIDSTREAM PARTNERS HOLDINGS LLC | Account # 4880 8437 4125 | August 1, 2020 to August 31, 2020


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P.O. Box 15284
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                                                                                              1.800.878.7878

                                                                                              bankofamerica.com/privatebank
  PERMICO MIDSTREAM PARTNERS LLC
                                                                                              Bank of America, N.A.
  9301 SOUTHWEST FWY STE 308
                                                                                              P.O. Box 25118
  HOUSTON, TX 77074-1431                                                                      Tampa, FL 33622-5118




Your BANK OF AMERICA Business Advantage Savings
for August 1, 2020 to August 31, 2020                                                    Account number: 4880 8483 8603
PERMICO MIDSTREAM PARTNERS LLC

Account summary
Beginning balance on August 1, 2020                                       $0.00      # of deposits/credits: 0
Deposits and other credits                                                  0.00     # of withdrawals/debits: 0
Withdrawals and other debits                                               -0.00     # of days in cycle: 31
Service fees                                                               -0.00     Average ledger balance: $0.00
Ending balance on August 31, 2020                                        $0.00       Average collected balance: $0.00
Interest Paid Year To Date: $17.77.


       Important disclosure information listed on the "Important Information for Bank Deposit Accounts" page.




PULL: E CYCLE: 23 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: HOU                                                          Page 1 of 2
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PERMICO MIDSTREAM PARTNERS LLC | Account # 4880 8483 8603 | August 1, 2020 to August 31, 2020


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                                                                                    Permico Midstream Partners, LLC

                                                                           Bank of America Operating, Period Ending 08/31/2020

                                                                                        RECONCILIATION REPORT

                                                                                         Reconciled on: 09/08/2020

                                                                                      Reconciled by: Jordan Fickessen

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                                                USD

 Statement beginning balance                                                                                                                        22,473.15
 Checks and payments cleared (6)                                                                                                                   -11,961.11
 Deposits and other credits cleared (2)                                                                                                              2,044.61
 Statement ending balance                                                                                                                           12,556.65

 Register balance as of 08/31/2020                                                                                                                 12,556.65
 Cleared transactions after 08/31/2020                                                                                                                  0.00
 Uncleared transactions after 08/31/2020                                                                                                           -2,163.21
 Register balance as of 09/08/2020                                                                                                                 10,393.44



 Details

 Checks and payments cleared (6)

  DATE                                     TYPE                                     REF NO.                             PAYEE                  AMOUNT (USD)
 08/04/2020                                Expense                                                                      Merlyn Holdings, LLC        -5,679.42
 08/04/2020                                Expense                                                                      Nueces Electric               -263.90
 08/05/2020                                Expense                                                                      Nueces Electric               -161.92
 08/05/2020                                Expense                                                                      Nueces Electric               -133.47
 08/28/2020                                Expense                                                                      Merlyn Holdings, LLC        -5,679.42
 08/31/2020                                Expense                                                                      Nueces Electric                -42.98

 Total                                                                                                                                            -11,961.11


 Deposits and other credits cleared (2)

  DATE                                     TYPE                                     REF NO.                             PAYEE                  AMOUNT (USD)
 08/31/2020                                Deposit                                                                                                   1,354.48
 08/31/2020                                Deposit                                                                                                    690.13

 Total                                                                                                                                             2,044.61


 Additional Information

 Uncleared checks and payments after 08/31/2020

  DATE                                     TYPE                                     REF NO.                             PAYEE                  AMOUNT (USD)
 09/01/2020                                Expense                                                                      Nueces Electric               -118.60
 09/04/2020                                Expense                                                                                                  -2,044.61

 Total                                                                                                                                            -2,163.21




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Income
Total Income
GROSS PROFIT
Expenses
Total Expenses
NET OPERATING INCOME
NET INCOME




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                                                                                                           TOTAL
ASSETS
 Current Assets
 Bank Accounts
  Bank of America Operating                                                                              12,556.65
  Checking                                                                                                    0.00
  Escrow Account                                                                                              0.00
  Savings                                                                                                     0.00
 Total Bank Accounts                                                                                   $12,556.65
 Other Current Assets
  Prepaid Expenses                                                                                       -3,012.17
 Total Other Current Assets                                                                            $ -3,012.17
 Total Current Assets                                                                                    $9,544.48
 Fixed Assets
 Land                                                                                                 2,558,165.71
 Total Fixed Assets                                                                                  $2,558,165.71
 Other Assets
 Development Costs - Fractionator                                                                     2,369,782.30
 Development Costs - LPG Terminal                                                                     1,515,912.00
 Development Costs - Overhead                                                                        21,651,662.29
 Development Costs - PL Companero                                                                     9,033,405.94
 Development Costs - PL Simpatico                                                                     5,200,460.85
 Development Costs - Storage                                                                             36,890.88
 Right of Use Asset                                                                                  15,052,500.00
 Total Other Assets                                                                                 $54,860,614.26
TOTAL ASSETS                                                                                        $57,428,324.45

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable
   Accounts Payable (A/P)                                                                            10,125,489.85
  Total Accounts Payable                                                                            $10,125,489.85
  Other Current Liabilities
   Notes Payable - ST                                                                                30,000,000.00
  Total Other Current Liabilities                                                                   $30,000,000.00
 Total Current Liabilities                                                                          $40,125,489.85
 Total Liabilities                                                                                  $40,125,489.85
 Equity
 Management Distribution                                                                               356,979.94
 Opening Balance Equity                                                                              10,756,178.88
 Retained Earnings                                                                                       77,954.01
 Series A Membership Interests                                                                        6,088,160.00
 Net Income                                                                                              23,561.77
 Total Equity                                                                                       $17,302,834.60
TOTAL LIABILITIES AND EQUITY                                                                        $57,428,324.45




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